                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 3:11-00194
                                               )           JUDGE CAMPBELL
JERMAINE L. JACKSON                            )


                                            ORDER

       At the sentencing hearing on September 20, 2013, the parties shall be prepared to discuss

if Paragraph 31, Paragraph 86, and Page 28 of the Presentence Report are inconsistent.

       It is so ORDERED.


                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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